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                            EXHIBIT 5
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SAMUEL DONETS,
 individually and on behalf of all
 others similarly situated,

              Plaintiff,                        No. 20-cv-03551
                                                Judge Franklin U. Valderrama
        v.

 VIVID SEATS LLC,

              Defendant.


                                       ORDER

       Plaintiff Samuel Donets (Donets), a former employee of Defendant Vivid Seats
LLC (Vivid Seats) brings this proposed class action against Vivid Seats for alleged
violations of the Illinois Biometric Information Privacy Act (BIPA). R. 24, Am.
Compl. 1 Vivid Seats moved to dismiss the amended complaint on three bases: (1)
Donets’ claim is time-barred by the statute of limitations; (2) Donets’ request for
damages are barred by the Exclusivity Provisions in the Illinois Workers’
Compensation Act (IWCA); and (3) Donets has failed to sufficiently assert allegations
that plausibly establish that Vivid Seats “willfully” or “recklessly” violated BIPA. R.
30, Mot. Dismiss. Simultaneously with its motion to dismiss, Vivid Seats moved to
stay the proceedings pending: (1) appeals in two Illinois appellate court cases, (2) a
petition for leave to appeal to the Illinois Supreme Court, and (3) an interlocutory
appeal before the Seventh Circuit Court of Appeals. R. 32, Mot. Stay. Vivid Seats
contends that each pending appeal and petition will inform the Court’s analysis
regarding the statute of limitations and IWCA’s exclusive remedy provisions. Id.
Donets opposes Vivid Seats’ motion to stay. R. 35, Opp. Mot. Stay. For the reasons
set forth below, Vivid Seats’ motion to stay is granted in part and denied in part.

                                     Statement

      District courts have the inherent power to control their own dockets, including
the power to stay proceedings before them. Clinton v. Jones, 520 U.S. 681, 706 (1997)
(“The District Court has broad discretion to stay proceedings as an incident to its
power to control its own docket.”); Munson v. Butler, 776 F. App’x 339, 342 (7th Cir.

1Citations to the docket are indicated by “R.” followed by the docket number and, where
necessary, a page or paragraph citation.
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2019) (“[A] district court has inherent power to exercise its discretion to stay
proceedings to avoid unnecessary litigation of the same issues.”). How best to manage
the court’s docket “calls for the exercise of judgment, which must weigh competing
interests and maintain an even balance.” Landis v. N. Am. Co., 299 U.S. 248, 254–55
(1936). In evaluating whether to exercise their discretion to stay proceedings, courts
consider “(1) whether a stay will simplify the issues in question and streamline the
trial; (2) whether a stay will reduce the burden of litigation on the parties and on the
court; and (3) whether a stay will unduly prejudice or tactically disadvantage the non-
moving party.” Berkeley*IEOR v. Teradata Operations, Inc., 2019 WL 1077124, at *5
(N.D. Ill. Mar. 7, 2019).

                                    Statute of Limitations

        Vivid Seats contends that this Court should stay the case pending decisions
from the Illinois Appellate Court in Tims v. Black Horse Carriers, App. No. 1-20-0563
and Marion v. Ring Container Techs., LLC, App. No. 3-20-0184. Both cases will be
addressing the currently unsettled question of which statute of limitations period
applies to BIPA claims. “Federal courts hearing state law claims under diversity …
apply the forum state’s choice of law rules to select the applicable state substantive
law.” McCoy v. Iberdrola Renewables, Inc., 760 F.3d 674, 684 (7th Cir. 2014). In this
case, Donets’ claims arise under Illinois law. Am. Compl. ¶ 1. Because the Illinois
Supreme Court has not yet decided the applicable statute of limitations for BIPA
claims, a decision from the Illinois Appellate Court would likely be binding here. 2
See Nationwide Agribusiness Ins. Co. v. Dugan, 810 F.3d 446, 450 (7th Cir. 2015)
(“Where the Illinois Supreme Court has not ruled on an issue, decisions of the Illinois
Appellate Courts control, unless there are persuasive indications that the Illinois
Supreme Court would decide the issue differently.”); see also Vaughan v. Biomat
USA, Inc., 2020 WL 6262359, at *2 (N.D. Ill. Oct. 23, 2020) (staying a BIPA case until
the Illinois Appellate Court’s decision in Tims).

      Vivid Seats also seeks to stay this case pending the Seventh Circuit’s decision
on an interlocutory appeal in In Re: White Castle System, Inc., No. 20-8029 (Cothron
v. White Castle Sys., Inc., 467 F. Supp. 3d 604 (N.D. Ill.)). The certified question is
whether a private entity violates BIPA only when it first collects an individual’s
biometric information, or whether a violation occurs each time a private entity




2Of course, it is possible that the Illinois First District Appellate Court’s decision in Tims will
conflict with the Illinois Third District Appellate Court’s decision in Marion. If that is the
case, then this Court must predict how the Illinois Supreme Court would decide the issue.
Allstate Ins. Co. v. Menards, Inc., 285 F.3d 630, 636 (7th Cir. 2002).
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collects or discloses the biometric data in violation of 740 ILCS 15(b) or 15(d). 3
Cothron v. White Castle Sys., Inc., No. 19-cv-00382, Dkt. 141 (N.D. Ill. Oct. 1, 2020).

       As noted above, in support of its Motion to Dismiss, Vivid Seats argues that
Donets’ claims are time-barred. Mot. Dismiss at 3–9. Vivid Seats therefore contends
that a stay would be appropriate because the outcome of the appeals in Tims and
Marion will constitute decisional authority that this Court should consider, which
could potentially dispose of the entire case or at the least significantly reduce Donets’
and the class’ claims in scope and value. Similarly, Vivid Seats correctly states that
the Seventh Circuit’s decision in White Castle will be binding on this Court.

       Donets opposes the stay, arguing that “there is no reason to suspect that the
Appellate Court in Tims or Marion would depart from what seems to be an
elementary application of an unambiguous statute to the undisputed facts of a case”
and hold that BIPA claims are subject to a five (5)-year limitations period. Opp. Mot.
Stay at 8. Donets further argues that the certified question on appeal in White Castle
is unlikely to change the statute of limitations analysis, because the plain language
of the statute makes clear that BIPA is violated each and every time an entity collects
or discloses an individual’s biometric data. Id. at 9 (citing Peatry v. Bimbo Bakeries
USA, Inc., 393 F. Supp. 3d 766, 769 (N.D. Ill. 2019)).

       The Court finds it appropriate to stay this case pending the Tims and Marion
Illinois Appellate Court decisions on the applicable statute of limitations. The Tims
and Marion decisions could control the Court’s resolution of the timeliness issue and
guide the parties’ positions as they proceed with this litigation. See Nationwide
Agribusiness Ins., 810 F.3d at 450. And at least two judges in this District have stayed
similar cases pending the Illinois Appellate Court’s decision in Tims. See Vaughan,
2020 WL 6262359, at *2; Bell v. SDH Servs. W., LLC, 20-cv-3181, Dkt. 22 (N.D. Ill.
Aug. 27, 2020). Both courts reasoned that the benefits of a stay pending a potentially
dispositive decision outweighed the potential risks of the delay. In Bell, the court held
that a stay was appropriate even though a statute of limitations argument was not
appropriate for a motion to dismiss because the plaintiff did not include any relevant
dates in the complaint. Bell, 20-cv-3181, Dkt. 22. Here, as Vivid Seats argues in its
motion to dismiss, Donets included dates in his complaint, alleging that he used the
time clock at issue “since at least 2015.” Mot. Dismiss at 8 (citing Am. Compl. ¶ 27).
So Vivid Seats’ statute of limitations argument is properly raised on a motion to

3The   full question on appeal is:

        Whether a private entity violates Sections 15(b) or 15(d) of the Illinois Biometric
        Information Privacy Act, 740 ILCS 14/1 et seq., only when it is alleged to have first
        collected (§ 15(b)) or to have first disclosed (§ 15(d)) biometric information or biometric
        identifiers (“biometric data”) of an individual without complying with the
        requirements of those Sections, or whether a violation occurs each time that a private
        entity allegedly collects (§ 15(b)) or discloses (§ 15(d)) the individual’s biometric data
        without complying with the requirements of the applicable subsection.
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dismiss, and the Illinois Appellate Court’s decisions in Tims and Marion could be
dispositive.

       A stay is also appropriate pending the Seventh Circuit’s White Castle decision
on when an injury occurs under BIPA. Contrary to Donets’ argument that BIPA is
“unambiguous and dispositive” as to when a violation occurs, as the district court in
White Castle noted upon certification of the interlocutory appeal, “reasonable minds
can and have differed as to the clarity of BIPA’s statutory text and the extent to which
suppositions about legislative intent should shape courts’ application of it.” White
Castle Sys., Inc., No. 19-cv-00382, Dkt. 141. As Vivid Seats points out, the district
court in White Castle stayed proceedings pending the Seventh Circuit’s interlocutory
review, and the Seventh Circuit held that such a stay was “warranted.” White Castle
Sys., Inc., No. 19-cv-00382, Dkt. 145; White Castle, No. 20-8029, Dkt. 9 (7th Cir. Nov.
9, 2020). So too here, the Seventh Circuit’s decision may limit or eliminate Donets’
and the class’ timely claims and a stay is appropriate pending the appeal. Despite
Donets’ argument that the outcome of White Castle will never dispose of the case,
Opp. Mot. Stay at 12—if the Seventh Circuit disagrees with the district court, and
holds that a violation occurs only when the entity first collects or first discloses an
individual’s biometric data, it may dispose of Donets’ claim if the Illinois Appellate
Court were to hold that a one-year statute of limitations applies. Regardless of
whether it disposes of the case, the Seventh Circuit’s decision will impact the size of
the class.

        According to Vivid Seats, a stay would conserve the parties’ and judicial
resources, saving expenditures on potentially costly motion practice and discovery.
Donets raises several arguments in opposition to the stay. He contends that a stay
would unnecessarily delay the case and will not streamline the litigation. Opp. Mot.
Stay at 11–12. He also argues that a stay will allow Vivid Seats to continue
“to store and potentially use his biometric data in violation of BIPA.” Id. at 11.
Although the Court is mindful of the harms associated with the retention and
potential misuse of sensitive data, a stay will cause minimal, if any, additional harm
to Donets in this case, given the limited nature of the stay. 4 Moreover, Donets asserts
that Vivid Seats is storing and “potentially” using sensitive data in violation of BIPA.
When presented with arguments like these, courts have concluded that stays are still
appropriate considering countervailing interests weighing in favor of a stay. See,
e.g., Vaughan, 2020 WL 6262359, at *3. Donets’ concerns do not justify denying Vivid
Seats’ request for a stay, taking into account the economies to be gained from staying
this litigation. See id.; see also Bell, 20-cv-3181, Dkt. 22; Treadwell v. Power Sols.
Int’l, Inc., 18-cv-8212, Dkt. 120 (N.D. Ill. Apr. 1, 2020) (concluding that the plaintiff's




4ThisCourt understands that both Tims and Marion are fully briefed. The Seventh Circuit
granted the petition for permission to appeal in White Castle on November 9, 2020. A briefing
schedule has not yet been set.
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concerns did not justify denying a request for a stay, “especially when weighed
against the time and expense the parties will expend in litigating his claims”).

                           Illinois Workers Compensation Act

        Vivid Seats also requests that the Court stay this case pending the decision of
the Illinois Supreme Court on the defendant’s petition for leave to appeal in
McDonald v. Symphony Bronzeville Park, LLC. Mot. Stay ¶ 4, Ex. 4, McDonald Pet.
The defendant seeks to appeal the Illinois Appellate Court’s unanimous holding that
the exclusivity provisions of the IWCA do not bar claims brought under BIPA.
McDonald Pet. at 2. True, as Vivid Seats argues, the answer to that question would
directly impact the outcome of Vivid Seats’ second basis for dismissal—IWCA
preemption. Mot. Stay ¶¶ 4, 6. But, as Donets contends, not only has the Illinois
Supreme Court not yet accepted the petition, but also myriad state and federal
district courts have held as did Illinois Appellate Court in McDonald, that the IWCA
does not preempt BIPA claims. Opp. Mot. Stay at 6–7 (collecting cases). Additionally,
many state courts, and at least one federal district court, have refused to stay BIPA
litigation pending resolution of an appeal of the IWCA preemption issue. Id. at 13–
14 (collecting cases); Mintun v. Kenco Logistics Servs. LLC, 2020 WL 1700328, at *2
(C.D. Ill. Apr. 7, 2020). 5 Without ruling on the question directly, this Court agrees
with the court in Mintun that it is unlikely that the Illinois Supreme Court would
rule that IWCA preempts BIPA. 2020 WL 1700328, at *2.

       Moreover, unlike the stay pending the Illinois Appellate Court’s decisions on
the fully-briefed appeals in Tims and Marion, and the interlocutory appeal currently
pending before the Seventh Circuit, the Illinois Supreme Court has not yet granted
the petition for leave to appeal in McDonald, and thus, the stay would not be as
limited in duration. Contra Vaughan, 2020 WL 6262359, at *2 (a stay would be
limited and unlikely to prejudice a party where it would be in place pending an
appellate decision on a fully briefed case). Therefore, Vivid Seats’ Motion to Stay the
proceedings pending the Illinois Supreme Court’s decision in McDonald is denied.

       For the foregoing reasons, Vivid Seats’ Motion to Stay [32] is granted in part
and denied in part. The Court stays this case pending the Illinois Appellate Court’s
decisions in Tims v. Black Horse Carriers, App. No. 1-20-0563 and Marion v. Ring
Container Techs., LLC, App. No. 3-20-0184 and pending the Seventh Circuit’s

5As Vivid Seats points out, at least two other judges in this District granted stays while
McDonald was pending before the Illinois Appellate Court. Bell, 20-cv-3181, Dkt. 22;
Treadwell, 18-cv-8212, Dkt. 120. Since Bell and Treadwell were stayed, the Illinois Appellate
Court issued its decision in McDonald, unanimously holding against IWCA preemption. Both
courts have continued the stays since the Illinois Appellate Court issued its decision;
however, this Court granted a continuance of the stay in Treadwell at the parties’ request
because they are engaged in settlement negotiations, not because of the pending Illinois
Supreme Court decision on the petition for leave to appeal. 18-cv-8212, Dkt. 125, 126.


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decision in In Re: White Castle Sys., Inc., No. 20-8029. The parties are to file a status
report by February 15, 2021 to update the Court on the status of these cases. Vivid
Seats’ Motion to Dismiss [30] is denied without prejudice with leave to refile once the
stay is lifted.



Date: 12/15/2020
                                               United States District Judge
                                               Franklin U. Valderrama




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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BRIAN R. VAUGHAN, individually and                     )
on behalf of all others similarly situated,            )
                                                       )
               Plaintiff,                              )
                                                       )
               v.                                      )           No. 1:20 CV 04241
                                                       )           Hon. Marvin E. Aspen
BIOMAT USA, INC. and TALECRIS                          )
PLASMA RESOURCES, INC.,                                )
                                                       )
                                                       )
               Defendants.                             )

                                MEMORANDUM OPINION & ORDER

MARVIN E. ASPEN, District Judge:

        Defendants Biomat USA, Inc. and Talecris Plasma Resources, Inc. filed a motion to stay

these proceedings, pending the Appellate Court of Illinois, First District’s decision in Tims v.

Black Horse Carriers, Inc., Case No. 1-20-0563 (1st Dist.). (Dkt. No. 14.) For the reasons set

forth below, we grant the motion. The parties are hereby directed to file a status report as soon

as the Appellate Court of Illinois, First District (“Illinois Appellate Court”) issues its ruling in

Tims.

                                          BACKGROUND

        On June 10, 2020, Plaintiff Brian R. Vaughan filed a putative Class Action Complaint

(Dkt. No. 1, Ex. A) (“Complaint” or “Cmplt.”) against Defendants in the Circuit Court of Cook

County, Illinois, alleging that Defendants violated the Illinois Biometric Information Privacy Act

(“BIPA”), 740 ILCS 14/1, et seq. Plaintiff’s theory is that Defendants use finger-scanning

devices to track donors without (i) providing a publicly available policy concerning the retention

and destruction of biometric information, or (ii) making certain disclosures and obtaining written
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releases. (See Cmplt. ¶¶ 47, 77–78.) Defendants removed the action to federal court on July 17,

2020, for diversity jurisdiction under 28 U.S.C. § 1332. (Dkt. No. 1.) Defendants then requested

and were granted an extension to August 24, 2020, to answer or otherwise plead to the

Complaint. (Dkt. No. 11.) On August 24, 2020, Defendants filed the instant motion. (Dkt. No.

14.)

       Defendants have not yet filed a responsive pleading, but in their motion to stay, they state

that they “intend to move to dismiss Plaintiff’s claims, including because they are untimely

under the one-year statute of limitations set forth in 735 ILCS 15/13-201.” (Dkt. No. 14 at 2.)

                                       LEGAL STANDARD

       The Court “has inherent power to exercise its discretion to stay proceedings to avoid

unnecessary litigation of the same issues.” Munson v. Butler, 776 F. App’x 339, 342 (7th Cir.

2019) (citing Landis v. North American Co., 299 U.S. 248, 254 (1936)). In evaluating whether

to grant a motion to stay, courts consider: “(i) whether a stay will unduly prejudice or tactically

disadvantage the non-moving party, (ii) whether a stay will simplify the issues in question and

streamline the trial, and (iii) whether a stay will reduce the burden of litigation on the parties and

on the court.” Obrzut, et al. v. LVNV Funding, LLC, et al., No. 19-cv-01780, 2020 WL 3055958,

at *1 (N.D. Ill. June 8, 2020) (internal citations and quotations omitted). “The proponent of a

stay bears the burden of establishing its need.” Clinton v. Jones, 520 U.S. 681, 708 (1997).

                                            ANALYSIS

       Defendants argue that we should stay this case because the Illinois Appellate Court’s

ruling in Tims will clarify the unsettled legal question of which statute of limitations applies to

BIPA claims. (Dkt. No. 14 at 4.) That issue is of significance here because, to the extent that a

one-year statute of limitations applies rather than a five-year period, Plaintiff’s case may warrant



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dismissal. (Id.) Defendants assert that we will “promote efficiency and preserve resources” by

staying these proceedings pending a decision in Tims. (Id.) We agree.

       “Federal courts hearing state law claims under diversity or supplemental jurisdiction

apply the forum state’s choice of law rules to select the applicable state substantive law.”

McCoy v. Iberdrola Renewables, Inc., et al., 760 F.3d 674, 684 (7th Cir. 2014). In this case,

Plaintiff’s claims arise under Illinois law. (Cmplt. ¶¶ 66–93.) The Supreme Court of Illinois has

not yet weighed in on the applicable statute of limitations for BIPA claims, so the Illinois

Appellate Court’s decision in Tims would likely be binding here. See Nationwide Agribusiness

Ins. Co. v. Dugan, 810 F.3d 446, 450 (7th Cir. 2015) (“Where the Illinois Supreme Court has not

ruled on an issue, decisions of the Illinois Appellate Courts control, unless there are persuasive

indications that the Illinois Supreme Court would decide the issue differently.”). And, as noted

above, the Illinois Appellate Court’s forthcoming decision as to the applicable statute of

limitations might be dispositive. It makes little sense for the parties or the court to expend time

and resources litigating dispositive issues where appellate guidance is forthcoming. See Burnett

v. Ocwen Loan Servicing, LLC, No. 17-C-3474, 2017 WL 5171226, at *2 (N.D. Ill. Nov. 8,

2017) (staying litigation where an appellate court decision would “simplify legal issues…and

reduce the burden of litigation on the parties and the court”); see also Treadwell v. Power

Solutions Int’l, Inc., Case No. 18-CV-8212 (N.D. Ill. April 1, 2020) (granting a stay where an

issue presented in the defendant’s motion to dismiss was identical to an issue before the Illinois

Appellate Court); Conrad v. Boiron, Inc., et al., No. 13-C-7903, 2014 WL 2937021, at *3 (N.D.

Ill. June 30, 2014) (staying litigation where a Ninth Circuit Court of Appeals ruling might

“provide some guidance regarding the present claims here”).




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        Moreover, it is our understanding that the state of limitations issue has already been, or

will soon be, fully briefed before the Illinois Appellate Court. (Dkt. No. 22 at 1–2.) Thus, we

anticipate that a stay would be limited; and therefore, would unlikely prejudice a party. See

Conrad, 2014 WL 2937021, at *3 (observing that a stay would “not unduly prejudice plaintiff”

where it would only be in place until the Ninth Circuit issued its decision, and the Ninth Circuit

case had already been fully briefed).

        Plaintiff raises several arguments in opposition to the stay. First, Plaintiff points out that

numerous courts have already rejected Defendants’ position that the statute of limitations for

BIPA should be one year instead of five years. (Dkt. No 18 at 4–5.) According to Plaintiff, the

Illinois Appellate Court is unlikely to change course. (Id.) Thus, Plaintiff contends that there is

little purpose in delaying this litigation pending the Illinois Appellate Court’s ruling. (Id.)

While it is true that several courts have rejected Defendants’ position that a one-year statute of

limitations applies to BIPA claims, it is possible that the Illinois Appellate Court might disagree,

and that decision, rather than decisions entered by other courts, would likely control here. 1 See

Nationwide Agribusiness, 810 F.3d at 450. Thus, notwithstanding the circuit court decisions

cited by Plaintiff, it would be prudent to postpone further briefing until after the Illinois

Appellate Court has issued its decision.

        Plaintiff’s related argument is that the forthcoming Tims decision will not simplify or

streamline the issues in the case because it will not address certain other issues in this case. (See

Dkt. No. 18 at 6–7.) This does not change our conclusion because an appeals court need not

provide determinative guidance as to all issues for us to conclude that a stay is appropriate. See,



1
 At present, there is no reason for us to conclude that the Illinois Supreme Court would disagree
with the Illinois Appellate Court’s decision, particularly since the Illinois Appellate Court has
not yet issued its opinion.
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e.g., Conrad, 2014 WL 2937021, at *3 (staying litigation where an appellate court ruling would

not be dispositive but might still provide guidance as to certain issues).

       Plaintiff also argues that Defendants should have filed a responsive pleading before filing

the motion to stay. (Dkt. No. 18 at 3–4.) According to Plaintiffs, “[s]taying the case without a

responsive pleading leaves open the potential for perpetual motions to stay.” (Id.) We disagree.

In their motion to stay, Defendants stated that they intend to dismiss the Complaint on statute of

limitations grounds and described their rationale for doing so. (Dkt. No. 14 at 2–4.) We see

little value in asking them to elaborate upon their position in a motion to dismiss, or in asking

Plaintiff to respond to such a motion, when the arguments raised by the parties might change in

response to the Illinois Appellate Court’s anticipated decision in Tims. Furthermore, Defendants

have only requested a stay until the Illinois Appellate Court decides Tims (Dkt. No. 14 at 4–5);

thus, a concern about “perpetual motions to stay” is an unwarranted hypothetical.

       Finally, Plaintiff argues that “[t]he risk of damage and prejudice to Plaintiff is too great”

because “Defendants are in possession of a huge amount of sensitive data” that “they continue to

store and potentially use…in violation of BIPA to this day.” (Dkt. No. 18 at 7–8.) We are

mindful of the harms associated with the retention and potential misuse of sensitive data;

however, we think that a stay will cause minimal, if any, additional harm to Plaintiff in this case,

given the limited nature of the stay. Moreover, the alleged harms that Plaintiff will suffer if a

stay is granted are both vague and speculative. Plaintiff asserts that Defendants are “potentially”

using sensitive data in violation of BIPA and that a stay “could result in Defendants’ continued

violation of BIPA.” (Dkt No. 18 at 8) (emphasis added). When presented with arguments like

these, courts have concluded that stays are still appropriate considering countervailing interests




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weighing in favor of a stay. See, e.g., Treadwell, Case No. 18-CV-8212. We see no reason to

depart from that precedent here.

        Plaintiff’s concerns do not justify denying Defendants’ request for a stay, taking into

account the economies to be gained from staying this litigation. See id. (concluding that

plaintiff’s concerns did not justify denying a request for a stay, “especially when weighed against

the time and expense the parties will expend in litigating his claims”).

                                               CONCLUSION

        For the reasons set forth above, we stay these proceedings pending the Illinois Appellate

Court’s decision in Tims v. Black Horse Carriers, Inc., Case No. 1-20-0563 (1st Dist.). The

parties are directed to file a status report as soon as the Illinois Appellate Court for the First

Judicial District issues its ruling in Tims.




                                                              _______________________________
                                                                      Honorable Marvin E. Aspen
                                                                       United States District Judge

Dated: October 23, 2020
       Chicago, Illinois




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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

TAMACA BELL,                                      )
                                                  )
               Plaintiff,                         )
                                                  )           No. 20 C 3181
       v.                                         )
                                                  )           Judge Sara L. Ellis
SDH SERVICES WEST, LLC, a Delaware                )
limited liability company, and SODEXO             )
AMERICA, LLC, a Delaware limited liability        )
company,                                          )
                                                  )
               Defendants.                        )

                                             ORDER

         The Court grants Defendants’ motion to stay [17]. The Court stays this case pending the
Illinois Appellate Court’s decisions in McDonald v. Symphony Bronzeville Park, LLC, App. No.
1-19-2398, and Tims v. Black Horse Carriers, App. No. 1-20-0563. The Court orders the parties
to file a status report by 11/23/2020 to update the Court on the status of these decisions and sets a
status date for 12/1/2020. See Statement.

                                          STATEMENT

        Plaintiff Tamaca Bell filed this putative class action against Defendants SDH Services
West, LLC (“SDH”) and SDH’s parent company, Sodexo America, LLC (“Sodexo”). Bell
alleges that SDH used biometric scanning and time-tracking devices and technology to monitor
its employees’ time on the job, requiring employees to provide biometric scans each time they
clocked in and out of work. Bell claims that Defendants violated the Illinois Biometric
Information Privacy Act (“BIPA”), 740 Ill. Comp. Stat. 14/1 et seq., through their collection,
storage, and use of her biometric information. Defendants have filed a motion to stay
proceedings pending the Illinois Appellate Court’s rulings on interlocutory appeals in McDonald
v. Symphony Bronzeville Park, LLC, App. No. 1-19-2398, and Tims v. Black Horse Carriers,
App. No. 1-20-0563. Defendants argue that a ruling in favor of the defendants in either of these
cases would be dispositive of Bell’s claims. Bell opposes the motion.

        District courts have the inherent power to control their own dockets, including the power
to stay proceedings before them. Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District
Court has broad discretion to stay proceedings as an incident to its power to control its own
docket.”); Munson v. Butler, 776 F. App’x 339, 342 (7th Cir. 2019) (“[A] district court has
inherent power to exercise its discretion to stay proceedings to avoid unnecessary litigation of the
same issues.”). How best to manage the court’s docket “calls for the exercise of judgment,
which must weigh competing interests and maintain an even balance.” Landis v. N. Am. Co., 299
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U.S. 248, 254–55 (1936). In determining whether to exercise its discretion to stay proceedings,
the Court considers “(1) whether a stay will simplify the issues in question and streamline the
trial; (2) whether a stay will reduce the burden of litigation on the parties and on the court; and
(3) whether a stay will unduly prejudice or tactically disadvantage the non-moving party.”
Berkeley*IEOR v. Teradata Operations, Inc., No. 17 C 7472, 2019 WL 1077124, at *5 (N.D. Ill.
Mar. 7, 2019).

         Defendants represent that they plan to file a motion to dismiss Bell’s complaint in its
entirety but believe that a stay prior to doing so would streamline that motion and potentially
dispose of the entire case. As part of their motion to dismiss, Defendants plan to argue that the
Illinois Workers’ Compensation Act (the “IWCA”), 820 Ill. Comp. Stat 305/1 et seq., preempts
Bell’s claims and that the statute of limitations bars Bell’s claims. The McDonald case concerns
whether the IWCA’s exclusivity provisions bar BIPA claims, while the Tims case addresses the
limitations period for BIPA claims. The trial courts in both cases rejected Defendants’
anticipated arguments. Defendants argue that because the Illinois Appellate Court is poised to
decide these issues, the Court should exercise its discretion to stay this proceeding pending the
decisions in McDonald and Tims. According to Defendants, a stay would conserve the parties’
and judicial resources, saving expenditures on potentially costly motion practice and discovery.
Bell opposes the motion, arguing that “[n]either McDonald nor Tims [is] likely to reverse the
solid consensus among Illinois state and federal courts that the IWCA does not preempt BIPA
claims and that BIPA claims are subject to a five-year, not one-year limitations period.” Doc. 20
at 2; id. at 6, 8 (collecting cases). She also contends that a stay would unnecessarily delay the
case and prejudice her and the putative class members’ substantive rights under BIPA.
Specifically, Bell claims that a stay would prejudice their rights “to know where, how, by whom,
and for how long Defendants are using or storing their biometric data.” Id. at 3. In their reply,
Defendants represent that they never collected Bell’s or putative class members’ fingerprints and
have now destroyed any of the disputed data, suggesting that there is no continuing harm to Bell
or putative class members that would require injunctive relief. Cf. Mutnick v. Clearview AI, Inc.,
No. 20 C 512, Doc. 61 at 3 (N.D. Ill. May 19, 2020) (denying stay of BIPA claims where the
plaintiff sought injunctive relief on his BIPA claim).

        Although a close question, the Court finds it appropriate to stay this case pending the
McDonald and Tims appellate court decisions. Having previously considered the preemption
issue, the Court finds it unlikely that the Illinois Appellate Court will conclude that the IWCA
preempts BIPA claims. See Peatry v. Bimbo Bakeries USA, Inc., No. 19 C 2942, 2020 WL
919202, at *6 (N.D. Ill. Feb. 26, 2020) (collecting cases and agreeing that the IWCA does not
preempt BIPA claims); see also Cothron v. White Castle Sys., Inc., --- F. Supp. 3d ----, 2020 WL
3250706, at *5–6 (N.D. Ill. June 16, 2020) (rejecting IWCA preemption argument and noting
that “courts have unanimously rejected it—and for good reason”). And Defendants’ anticipated
statute of limitations argument is not appropriate for a motion to dismiss in this case because Bell
has not included any relevant dates in the complaint. See United States v. Lewis, 411 F.3d 838,
842 (7th Cir. 2005) (the statute of limitations is an affirmative defense that the Court can
consider on a motion to dismiss only where “the allegations of the complaint itself set forth
everything necessary to satisfy the affirmative defense, such as when a complaint reveals that an
action is untimely under the governing statute of limitations”). Nonetheless, because the Illinois
Appellate Court’s decisions in McDonald and Tims could control the Court’s resolution of the

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preemption and timeliness issues and guide the parties’ positions as they proceed with the
litigation, see Nationwide Agribusiness Ins. Co. v. Dugan, 810 F.3d 446, 450 (7th Cir. 2015)
(“Where the Illinois Supreme Court has not ruled on an issue, decisions of the Illinois Appellate
Courts control, unless there are persuasive indications that the Illinois Supreme Court would
decide the issue differently.”), a stay has the potential to conserve both the parties’ and judicial
resources and streamline the issues. If the Illinois Appellate Court rules in favor of Defendants
on the preemption issue, that ruling would compel dismissal of Bell’s claims. Even if the Illinois
Appellate Court agrees with the current consensus that the IWCA does not preempt BIPA
claims, such a ruling would narrow the issues Defendants would raise in their anticipated motion
to dismiss. And although as discussed a statute of limitations argument is not appropriate for a
motion to dismiss in this case, the ruling in Tims could streamline discovery and class
certification proceedings. In light of these considerations, the Court finds that Bell’s concerns of
delay do not justify denying the request for a stay. See Treadwell v. Power Sols. Int’l, Inc., No.
18 C 8212, Doc. 120 (N.D. Ill. Apr. 1, 2020) (granting motion to stay pending the McDonald
appellate court decision). But see Mintun v. Kenco Logistics Servs. LLC, No. 19-2348, 2020 WL
1700328, at *2 (C.D. Ill. Apr. 7, 2020) (denying motion to stay pending McDonald because “it is
unlikely that a state appellate court would rule that the IWCA preempts BIPA,” meaning a stay
would not streamline the issues or conserve the parties’ resources). Therefore, the Court stays
this case pending the Illinois Appellate Court decisions in McDonald and Tims.



Date: August 27, 2020                                        /s/_Sara L. Ellis________________




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                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                       COUNTY DEPARTMENT, CHANCERY DIVISION

DEBRA D. TOWNSEND, individually,
                               )
 and on behalf of all others similarly
                               )
situated,                      )
                               )
               Plaintiff,      )                         Case No. 2019-CH-11849
                               )
     v.                        )                         Hon. Eve M. Reilly
                               )
THE ESTATES OF HYDE PARK, LLC, )
                               )
               Defendant.

                                                ORDER
         This matter coming to be heard on Status of stay, due notice given and the Court being

fully advised, it is so ordered:

         1.        This matter is set for hearing on Plaintiff’s Motion to Lift Stay on February 23,

2021 at 10:30 a.m.

                                                               ENTERED:


                                                               ____________________________
                                                                     Hon. Eve M. Reilly

Prepared by:
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Attorneys for Defendant




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                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                      COUNTY DEPARTMENT, CHANCERY DIVISION

 MARTINIQUE OWENS and AMELIA
 GARCIA, individually and on behalf of all
 others similarly situated,

                       Plaintiffs,                      Case No: 2018-CH-11423
 v.
                                                        Calendar 15
 WENDY’S INTERNATIONAL, LLC, an
 Ohio Limited Liability Company,

                       Defendant.



                                            ORDER

       This matter coming before the Court on Defendant Wendy’s International, LLC’s

(“Wendy’s”) Motion to Stay Discovery and Wendy’s Motion to Reconsider, to Supplement Its

Motion to Dismiss, or to Certify for Interlocutory Appeal (“Motion to Reconsider, Supplement and

Certify”), IT IS HEREBY ORDERED:

       1.     Wendy’s Motion to Stay Discovery based on pending interlocutory appeals is
              granted. Discovery is stayed through January 20, 2021.

       2.     Briefing on Wendy’s Motion to Reconsider, Supplement and Certify is as follows:

              •    Plaintiffs shall file their Response by November 6, 2020.
              •    Wendy’s shall file its Reply by December 7, 2020.

       3.     Wendy’s Motion to Reconsider, Supplement and Certify is set for ZOOM hearing
              on January 20, 2021, at 10:00 a.m.

                                             ENTERED


                                                     A^. Loftus, No. 2102


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 Order prepared and agreed to by:

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                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                      COUNTY DEPARTMENT, CHANCERY DIVISION

 JOE YOUNG, individually and on behalf of
 all others similarly situated,

                        Plaintiff,
 v.                                                     Case No: 2018-CH-13114

 TRI CITY FOODS, INC., a Delaware                       Calendar 15
 corporation,

                       Defendant




                                            ORDER

       This matter coming before the Court on Defendant Tri City Foods, Inc.’s (“TCF”’) Motion

to Stay Discovery and TCP’s Motion to Reconsider, to Supplement Its Motion to Dismiss, or to

Certify for Interlocutory Appeal (“Motion to Reconsider, Supplement and Certify”), IT IS

HEREBY ORDERED:

       1.     TCP’s Motion to Stay Discovery based on pending interlocutory appeals is
              granted. Discovery is stayed through January 20, 2021.

      2.      Briefing on TCP’s Motion to Reconsider, Supplement and Certify is as follows:

              •    Plaintiff shall file his Response by November 6, 2020.
              •    TCF shall file its Reply by December 7, 2020.

      3.     TCP’s Motion to Reconsider, Supplement and Certify is set for ZOOM hearing on
             January 20, 2021, at 10:00 a.m.

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Order prepared and agreed to by:

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             IN THE CIRCUIT COURT OF THE FIRST JUDI                            IRCUIT
                     JACKSON COUNTY, STATE OF ILLI                               31 0110: 58
 JESSICA CHRISTIE and CHIMARI
 JONES, on behalf of themselves and all                                             Ssz4t&
                                                                         CIRCUIT CLERK
 others persons similarly situated, known                             _JACKSON COUNTY. IL
 and unknown,                                          Case No.: 2020L40

        Plaintiff,                                     Hon. Christy Solverson

        v.

 CARBONDALE REHABILITATION
 AND NURSING CENTER, LLC d/b/a
 INTEGRITY HEALTHCARE OF
 CARBONDALE,

        Defendant.

    ORDER GRANTING DEFENDANT'S MOTION TO STAY ALL PROCEEDINGS

       This matter, coming before the Court on Defendant Carbondale Rehabilitation and Nursing

Center, LLC, d/b/a Integrity Healthcare of Carbondale's Motion to Stay All Proceedings, and the

Court being fully advised, it is hereby ordered that the Motion to Stay All Proceedings is

GRANTED.

       This matter is stayed in its entirety pending the decision of the Appellate Court for the First

Judicial District on the certified questions it accepted for review in McDonald v. Symphony

Bronzeville Park, LLC arid Tims v. Black Horse Carriers, Inc.

       It is further ordered that the Defendant shall inform this Court of any decision of the

Appellate Court for the First Judicial District in McDonald v. Symphony Bronzeville Park, LLC

and Tims v. Black Horse Carriers, Inc. within 14 days after issuance of the decision.

       All current deadlines and hearing dates are hereby stricken.
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Entered:                              So Ordere
                                                  Judge



Prepared By:
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                                                                                     Will County Circuit Clerk
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                          WILL COUNTY, ILLINOIS                                                      Clerk: LP

 WILLIAM STARKS, individually and on behalf
 of all others similarly situated,

                                Plaintiff,

                        v.                            Case No: 2019 L 182

  JOLIET COLD STORAGE, LLC

                                Defendant,


                                             ORDER

       This matter coming to be heard for status and for ruling on Defendant’s Motion to Stay,
the Court being duly advised, IT IS HEREBY ORDERED:

    (1) Defendant’s Motion to Stay is granted;

    (2) This case stayed until at least such time as the Third District Appellate Court issues a
        decision on the pending appeal in Marion v. Ring Container Technologies, LLC, No. 3-20-
        0184 (3d Dist.) (Ring Container);

    (3) This matter is continued for further status to December 17, 2020 at 9:00 a.m. in Rm A201.



It is so ordered.


                                                        Hon. Judge Roger D. Rickmon
Prepared by:
Laura Bacon                                             August 19, 2020
Nixon Peabody LLP
lbbacon@nixonpeabody.com

Reviewed by:
Mara Baltabols
The Fish Law Firm, PC
mara@fishlawfirm.com
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        IN THE CIRCUIT COURT OF THE TWENTY-FIRST JUDICIAL CIRCUIT
                  KANKAKEE COUNTY, ILLINOIS, LAW DIVISION

SCOTT MARION, individually and on behalf of )
all others similarly situated.              )
                                                          )
                                   Plaintiff.             )
                   v.                                     ) Case No.: 2019L000089
                                                          )
RING CONTAINER TECHNOLOGIES. LLC.                         ) Honorable Adrienne W. Albrecht
a Tennessee limited liability company.                    )

                                   Defendant.
                                                          )
                                                          )
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                                                   ORDER                                    CIRCUIT COURT CLERK

         This cause hav ing come before the Court on Defendant Ring Container Technologies,

LLC's Motion for Appellate Certification Under III. S. Ct. R. 308. or. in the Alternative, to Stay

All Proceedings, due notice having been given, and the Court being duly advised in the premises.

         THE COURT HEREBY KINDS AND ORDERS:

         1.        Appellate certification of the following questions is appropriate. The Coin is not

aware of any guidance from the Third District Appellate Court on what statute of limitations

properly applies to claims under BIPA or whether such claims arc preempted by the Illinois

Workers’ Compensation Act.

          2.        Each question is a novel question of law as to w hich there is substantial ground

for difference of opinion, and an immediate appeal may materially advance the ultimate

termination of this litigation.

          3.        Moreover, considering the novelty of the issues, the importance of them, and the

numerous cases and litigants to which the answers apply, the Court believes that efficiency

further requires that Defendant is provided the opportunity to seek leave to appeal from the Third

District Appellate Court.
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         4.       The Motion is therefore granted, and the Court hereby certifies the following

questions to the Illinois Third District Appellate Court pursuant to Illinois Supreme Court Rule

308:

                  a.       Whether the one-year statute of limitations for privacy actions. 735 ILCS
                           5/13-201. applies to claims brought under the Biometric Information
                           Privacy Act. 740 ILCS 14/1 et seq.

                  b.       Whether the two-year statute of limitations for personal injuries, 735 ILCS
                           5/13-202. applies to claims brought under the Biometric Information
                           Privacy Act. 740 ILCS 14/1 et seq.

                  c.       Whether the exclusivity provisions in the Workers' Compensation Act,
                           which state, among other things, that an employee has “[n]o common law
                           or statutory right to recover damages from the employer ^ * for | an |
                           injury [) sustained by any employee while engaged in the line ol'his
                           duty,” 820 ILCS 305/5; 820 ILCS 305/1 1. bar a claim for statutory
                           damages under BIPA that is based upon an injury that arises in. and during
                           the course of. employment.

         5.       It is further ordered that all proceedings in this case are stayed pending disposition

of Defendant's motion for leave to appeal.




Dated:
                                                 Hon. Adrienne W. Albrecht


Prepared by:
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Matthew C. Wolfe
Erika A. Dirk
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